      Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 1 of 25




                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
UNITED STATES,                          §      CIVIL ACTION NO. 4:18-CV-3368
                      Plaintiff,        §
                                        §     HON. CHARLES R. ESKRIDGE, III
STATE OF TEXAS,                         §
                      Plaintiff,        §
                                        §
and                                     §
                                        §
BAYOU CITY WATERKEEPER,                 §
            Plaintiff-Intervenor        §
                                        §
v.                                      §
                                        §
CITY OF HOUSTON,                        §
                      Defendant.        §

 Bayou City Waterkeeper’s Response to Opposed Motion for Entry of Consent Decree
                Filed by Plaintiffs United States and State of Texas
       Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 2 of 25




                                               TABLE OF CONTENTS

Introduction ......................................................................................................................... 1
Nature & Stage of the Proceeding ....................................................................................... 2
Statement of Facts ............................................................................................................... 3
Statement of Issues Requiring Resolution ........................................................................... 7
Standard of Review ............................................................................................................. 7
Summary of Argument ........................................................................................................ 9
Argument ........................................................................................................................... 10
   1. By not adequately responding to BCWK’s technical comments, the United States
      has hindered this Court’s ability to assess the decree .............................................. 10
   2. By refusing to address private laterals, the consent decree falls short of resolving
      impacts to water quality and public health .............................................................. 12
   3. By ignoring environmental injustices, the decree compounds inequities in the
      City’s sewer infrastructure, contrary to Title VI ..................................................... 13
   4. By contemplating minimal public participation, the consent decree ignores
      Houston’s historic failure to engage communities .................................................. 15
   5. The assessed penalty is too low and not offset with local environmental projects or
      other similar benefits ............................................................................................... 16
Conclusion ......................................................................................................................... 19
Certificate of Word Count ................................................................................................. 21
Certificate of Service ......................................................................................................... 21


Exhibits
Declaration of Jordan E. Macha
Declaration of Dr. Lauren Ross

Appendix
United States v. Miami-Dade Cty., Fla, No. 12-24400 (S.D. Fla. Apr. 10, 2014) (ECF No.
155)




                                                                   ii
      Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 3 of 25




                                             TABLE OF AUTHORITIES

Cases

Citizens for a Better Env’t v. Gorsuch,
  718 F.2d 1117 (D.C. Cir. 1983) ................................................................................. 8, 13

Cotton v. Hinton,
 559 F.2d 1326 (5th Cir. 1977) .......................................................................................... 8

League of United Latin Am. Citizens v. Clements,
  999 F.2d 831 (5th Cir. 1993) ....................................................................................... 7, 8

Sierra Club v. Hamilton Cty. Bd. of Cty. Comm’rs,
  504 F.3d 634 (6th Cir. 2007) ............................................................................................ 9

United States v. Akzo Coatings of Am., Inc.,
 949 F.2d 1409 (6th Cir. 1991). ................................................................................ passim

United States v. Allegheny-Ludlum Indus., Inc.,
  517 F.2d 826 (5th Cir. 1975) ......................................................................... 8, 13, 15, 16

United States v. Cannons Eng’g Corp.,
 899 F.2d 79 (1st Cir. 1990) .............................................................................................. 9

United States v. City of Akron,
 794 F. Supp. 2d 782 (N.D. Ohio 2011) ...................................................................... 9, 12

United States v. City of Akron,
 No. 09-272, 2013 WL 999909 (N.D. Ohio Mar. 13, 2013) ............................................. 9

United States v. City of Miami,
 664 F.2d 435 (5th Cir. 1981) .................................................................................. 7, 8, 14

United States v. Miami-Dade Cty., Fla,
 No. 12-24400 (S.D. Fla. Apr. 10, 2014) (ECF No. 155) ................................................. 9

United States v. Telluride Co.,
 849 F. Supp. 1400 (D. Colo. 1994) .................................................................................. 8


                                                             iii
       Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 4 of 25




Statutes

33 U.S.C. § 1251 ................................................................................................................. 9

33 U.S.C. § 1319(d) ........................................................................................................... 17

33 U.S.C. § 1365(a)(1) ........................................................................................................ 2

42 U.S.C. § 2000d, et seq. ................................................................................................. 14


Rules

40 C.F.R. § 7.35 ................................................................................................................. 14


Other Authorities

Memorandum from Jeffrey Bossert Clark, Assistant Att’y Gen., Env’t and Nat.
 Resources Division, U.S. Dep’t of Justice, SEPs in Civil Settlements with Private
 Defendants (Mar. 12, 2020) ........................................................................................... 19

U.S. EPA, 2015 Update to the 1998 U.S. EPA SEPs Policy (May 10, 2015) .................. 18

Consent Decree, United States v. Allegheny Cty. Sanitary Auth.,
 No. 2:07-CV-737 (W.D. Pa.) ......................................................................................... 18

Consent Decree, United States v. Metropolitan St. Louis Sewer Dist.,
 No. 4:07-CV-1120 (E.D. Mo.) ....................................................................................... 18




                                                                 iv
     Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 5 of 25




       Bayou City Waterkeeper (“BCWK”) files this response to the Opposed Motion for

Entry of Consent Decree Filed by Plaintiffs United States and State of Texas (Doc. 42).

BCWK asks the Court to allow limited discovery and hold an evidentiary hearing.

Alternatively, the Court should deny the plaintiffs’ motion as not fair, reasonable, or in the

public’s interest.

                                        Introduction

       For decades, the City of Houston’s (“City”) sewer infrastructure has plagued its

residents and waterways with thousands of discharges of untreated sewage. These

discharges, known as overflows, take many forms. Rainstorms carry hundreds of thousands

of gallons of untreated wastewater into Houston’s bayous. Raw sewage pools in

neighborhood greenspaces and elementary school grounds. Toilets back up into families’

homes. Whatever form an overflow takes, it dirties Houston’s water, harms public health,

and potentially violates the Clean Water Act (“CWA”).

       In July 2018, BCWK analyzed five years of data and served a notice of intent to sue

the City for over 9,000 CWA violations. The United States and State of Texas filed this

enforcement action 59 days later and immediately sought a stay. The parties claimed they

had been negotiating a consent decree for years, conceding negotiations had lapsed after

Hurricane Harvey and did not resume until after BCWK sent its notice letter. As the

plaintiffs and City restarted negotiations, they excluded BCWK.

       Despite the ubiquitous nature of the City’s problems, no efforts were made to

consult with the public. Mayor Turner attempted to avoid any public oversight by imposing

a punitive secrecy clause on City Council before the decree was final, and the decree


                                              1
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 6 of 25




defaults public participation to the legally required comment period. Plaintiffs now ask the

Court to approve the consent decree, unchanged by the 80 public comments they received.

       If granted, the motion will draw this litigation to a close. The consent decree will

mandate needed improvements to Houston’s sewer system. But the plaintiffs have not

shown this Court that the decree is fair, adequate, reasonable, and in the public’s interest,

as they must, because:

          ● The United States did not respond to BCWK’s technical comments
            adequately enough to aid this Court’s review;
          ● By not addressing private laterals, the decree cannot comply with the CWA
            over the long-term;
          ● By not addressing environmental injustices in the City’s sewer infrastructure,
            the decree violates civil rights law;
          ● The decree contemplates minimal public participation, ignoring the City’s
            antipathy toward public engagement; and
          ● The penalty is too low and not offset by community-centered provisions.
       So the parties may address these shortcomings, BCWK asks the Court to allow for

limited discovery and hold an evidentiary hearing, or deny the motion.

                             Nature & Stage of the Proceeding

       This environmental enforcement action arises under the CWA and targets thousands

of violations committed by the City across its sewer system. (Docs. 1, 40, 42.)

       These problems were left unresolved for years until BCWK served the City with a

notice of intent to sue over 9,000 potential CWA violations on July 23, 2018. See 33 U.S.C.

§ 1365(a)(1). Fifty-nine days later, the United States and State of Texas filed this

enforcement action and requested an immediate stay. (Docs. 1, 2.) BCWK filed a citizen



                                             2
       Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 7 of 25




suit,1 and in November 2018, the Court allowed BCWK to intervene in this action over the

City’s objection. (Doc. 20.) While the City negotiated a consent decree with plaintiffs, both

lawsuits have been stayed. (See Doc. 8.)

         On August 27, 2019, plaintiffs lodged a consent decree with this Court, purporting

to resolve their action without input from BCWK as intervenor. (Doc. 40.) A required

public-comment period followed. On August 7, 2020, plaintiffs asked this Court to enter

the consent decree as a final judgment. (Doc. 42.) As explained below, BCWK opposes the

motion.

                                     Statement of Facts

         The City operates one of the largest separate sewer systems nationwide, with 39

treatment plants and a collection system with over 6,000 miles of pipes and 390 lift stations.

(See Doc. 42-1 at 5, Affidavit of Alan Vaughn (“Vaughn Aff”) at ¶ 3(a),(b).) This sewer

system has plagued Houstonians with overflows of untreated sewage for decades.

Declaration of Jordan E. Macha (“Macha Decl”) ¶ 3. These overflows take many forms:

massive discharges of untreated sewage into Houston’s bayous during rainstorms,

persistent overflows in neighborhood greenspaces, sewage back-ups in individual family

homes, and more. Id.

         Because these discharges violate the CWA and state law, the City has repeatedly

entered settlement agreements with regulators over 30 years. Despite spending at least $3




1
    BCWK v. City of Houston, No. 4:18-CV-3369 (S.D. Tex. filed September 21, 2018).

                                              3
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 8 of 25




billion, the City continued to report a similar—sometimes higher—number of unlawful

overflows. (Doc. 40-1 at 7 (seventh “Whereas” clause); Doc. 12-2, ¶ 53.)

       In 2018, BCWK, a local non-profit organization,2 analyzed five years of overflows

documented by the City. Macha Decl ¶ 4; Declaration of Lauren Ross (“Ross Decl”) ¶ 9.

In the City’s data, BCWK identified more than 9,000 overflows from the City’s sewer

system from 2013 to 2018. Id. This analysis excluded problems with the City’s sewer

infrastructure caused by Hurricane Harvey, which infused Southeast Texas’ already-toxic

floodwaters with 31.6 million gallons of sewage, destroyed a City treatment plant, and

temporarily closed two more.3 Macha Decl ¶ 5.

       BCWK’s review showed, and the consent decree confirms, no single source is

responsible for Houston’s problems. (See Docs. 12-2, 40-1 at 125-44, Appendix E

(identifying problems with treatment plants); Vaughn Aff at ¶ 6 (identifying contributing

factors).) The City’s data attributes overflows to distinct, overlapping causes—localized

grease clogs leading to back-ups, heavy rainfall leading to high-volume overflows, faulty

work, failing pumps, broken pipes, lack of electricity, untrained employees, and more. (See

Doc. 40-1 at 125-44; see also Vaughn Aff at ¶ 6.)




2
  BCWK utilizes science, law, and community empowerment to protect and restore
natural systems, achieve equitable policy solutions, and advance systematic change to
benefit all who live within the Lower Galveston Bay watershed, which encompasses the
greater Houston region. Macha Decl ¶ 2.
3
  Alex Stuckey, Harvey caused sewage spills, Houston Chronicle, (Sep. 19, 2017),
available at https://www.houstonchronicle.com/news/houston-
texas/houston/article/Harvey-caused-sewage-spills-12213534.php.

                                            4
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 9 of 25




       Regardless of source, the City’s overflows dramatically affect water quality across

the region. Nearly every identified stream segment monitored within the City’s service area

is recognized as impaired by bacteria by federal and state regulators. (Doc. 12-2 at ¶ 52.)

An independent analysis found fecal bacteria 75% of the time at local water testing sites

and recommended more vigorous enforcement of municipal wastewater standards.4

       Though these problems are city-wide, lower-income communities and communities

of color are “most likely to feel the consequences of Houston’s long-running struggle with

sewer overflows.” Mike Morris, Sewer spills put city under EPA scrutiny, Houston

Chronicle (Aug. 27, 2016), available at https://www.houstonchronicle.com/news/houston-

texas/houston/article/Sewer-spills-put-city-under-EPA-scrutiny-9188683.php;         accord

Ross Decl ¶¶ 18-22, 26.

       BCWK’s analysis served as the basis of its notice letter served on the City on July

23, 2018. (See Doc. 12-2 at 23.) This notice prompted the United States and the State of

Texas to file this enforcement action 59 days later on September 20, 2018, targeting an

unspecified number of CWA violations over ten years. (Doc. 1.) Plaintiffs immediately

sought a stay of all litigation. (Doc. 2.) The parties claimed they had been negotiating a

consent decree for years, but conceded negotiations had lapsed for a year and did not

resume until after BCWK’s notice letter. (See Doc. 42 at 3-4.)




4
 Environment Texas Research & Policy Center, Swim at Your Own Risk: Bacteria
Pollution in Texas Beaches and Waterways Threatens Public Health (2018), available at
https://environmenttexas.org/sites/environment/files/reports/TX_Water2018_scrn.pdf.

                                            5
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 10 of 25




       Over the City’s objection, BCWK intervened, (Docs. 12-2, 20), and also filed a

citizen suit. BCWK v. City of Houston, No. 4:18-CV-3369 (S.D. Tex. filed September 21,

2018). As the parties resumed negotiations, BCWK was repeatedly excluded. Macha Decl

¶ 7. Despite the far-reaching nature of the City’s problem, no efforts were made to consult

with the public. Id. ¶ 8.

       On August 27, 2019, plaintiffs lodged a consent decree with this Court, purporting

to resolve this action without input from BCWK as intervenor. (Doc. 40.) Shortly after, the

U.S. Department of Justice published notice of the decree, triggering a 30-day period for

public comment. At BCWK’s request, this 30-day period was extended by a month. By

November 8, 2019, 80 individuals and organizations submitted comments. (Doc. 42 at 20.)

       BCWK’s comment letter raised concerns relevant now: BCWK asked the United

States to incorporate terms reflecting BCWK’s role as intervenor; questioned why the

decree did not address specific causes of overflows identified by the City or environmental

injustices, including the exclusion of any new requirements to address private laterals;

recommended a long-term plan for community engagement to account for the City’s past

antipathy toward public involvement; and expressed concerns about the penalty,

particularly given the decree’s exclusion of Supplemental Environmental Projects. (Doc.

42-1 at 88 (summary of comments).) In many cases, BCWK provided draft language to aid

the United States’ review. (E.g. id. at 90-94.)

       Eight months passed. The plaintiffs ask the Court to approve the decree, which is

unchanged by the 80 public comments received. (Doc. 42 at 25.) In response to BCWK’s

comments, the United States has asked this Court to order the City to serve BCWK with


                                              6
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 11 of 25




all final deliverables required by the consent decree. (See Doc. 42-3 at 2.) Otherwise, the

United States deflected BCWK’s concerns or suggested the City could adopt recommended

measures on their own. Ross Decl ¶ 17. For clarity’s sake, BCWK’s comments and the

United States’ responses are discussed in detail below where relevant.

                         Statement of Issues Requiring Resolution

       In resolving the plaintiffs’ motion, the Court must assess whether the consent decree

is fair, adequate, reasonable, and consistent with the public’s interest when:

   (1) The United States did not respond to BCWK’s technical comments adequately
       enough to aid this Court’s review;
   (2) The consent decree does not address well-documented problems with private
       laterals sufficient to resolve CWA violations over the long-term;
   (3) The consent decree does not address environmental injustices in the City’s sewer
       infrastructure sufficient to comply with federal law;
   (4) The consent decree provides for minimal public participation, ignoring the City’s
       documented antipathy toward public engagement; and
   (5) The penalty is too low and does not offset penalty reductions with community-
       centered projects.
                                    Standard of Review

       A consent decree, although founded on the agreement of the parties, is a judgment.

United States v. City of Miami, 664 F.2d 435, 439 (5th Cir. 1981); League of United Latin

Am. Citizens v. Clements, 999 F.2d 831, 845 (5th Cir. 1993). A court “must not merely sign

on the line provided by the parties. Even though the decree is predicated on consent of the

parties, the judge must not give it perfunctory approval.” City of Miami, 664 F.2d at 440-

41. Because a decree reflects the court’s judgment, this Court must exercise “equitable




                                             7
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 12 of 25




discretion before accepting litigants’ invitation to perform the judicial act.” Clements, 999

F.2d at 846.

       The Court must evaluate whether the decree is “fair, adequate, and reasonable and

is not the product of collusion between the parties.” Cotton v. Hinton, 559 F.2d 1326, 1330

(5th Cir. 1977). Before approving the decree, the Court must “satisfy itself of the

settlement’s overall fairness to beneficiaries and consistency with the public interest.”

United States v. Allegheny-Ludlum Indus., Inc., 517 F.2d 826, 850 (5th Cir. 1975); Citizens

for a Better Env’t v. Gorsuch, 718 F.2d 1117, 1126 (D.C. Cir. 1983). Protecting the public

interest is the key consideration in assessing whether a decree is fair, reasonable and

adequate. United States v. Akzo Coatings of Am., Inc., 949 F.2d 1409, 1435 (6th Cir. 1991).

       Because “the consent decree does not merely validate a compromise, but by virtue

of its injunctive provisions, reaches into the future and has continuing effect, its terms

require more careful scrutiny.” City of Miami, 664 F.2d at 441. A more searching review

is appropriate where, as here, the suit affects the public interest and “the adversary system

has yet to function” because the “case was filed merely as the vehicle by which the parties’

settlement agreement could receive judicial approval.” United States v. Telluride Co., 849

F. Supp. 1400, 1403 (D. Colo. 1994) (distinguishing between long-running litigation and

cases where no litigation follows the complaint).

       When a lawsuit seeks to enforce a statute, the Court must consider the nature of the

litigation, the purposes to be served by the decree, and confirm the decree is consistent with

Congressional public objectives. City of Miami, 664 F.2d at 441. This requires the Court

to determine that the decree is legally and factually reasonable based on the record. Id.


                                              8
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 13 of 25




Because the CWA’s objective is “to restore and maintain the chemical, physical, and

biological integrity of the Nation’s waters,” 33 U.S.C. § 1251, this Court should consider

“the decree’s likely effectiveness as a vehicle for cleansing” local waters. Akzo Coatings,

949 F.2d at 1437.

       When consent decrees do not meet these standards, courts reject them. See United

States v. City of Akron, 794 F. Supp. 2d 782 (N.D. Ohio 2011) (rejecting decree

representing “little more than an agreement to agree” after nine-year negotiation); United

States v. City of Akron, No. 09-272, 2013 WL 999909, at *1 (N.D. Ohio Mar. 13, 2013)

(rejecting approval because “Court cannot adequately review the Decree absent an

expert”); see United States v. Miami-Dade Cty., Fla, No. 12-24400 (S.D. Fla. Apr. 10,

2014) (ECF No. 155) (approving decree after amending decree to impose higher penalties);

see also Sierra Club v. Hamilton Cty. Bd. of Cty. Comm’rs, 504 F.3d 634 (6th Cir. 2007)

(approving decree after initial decree withdrawn to address exclusion of intervenor in

several respects).

                                   Summary of Argument

       Despite claiming to negotiate the consent decree for nearly six years, the parties

consistently side-lined the public and BCWK. Substantive fairness flows from procedural

fairness. See United States v. Cannons Eng’g Corp., 899 F.2d 79, 87 n.4 (1st Cir. 1990).

By refusing to engage with the public, the parties negotiated a consent decree that falls

short in key respects. The consent decree is not fair, adequate, reasonable, or in the public’s

interest because:




                                              9
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 14 of 25




          ● The United States did not respond to BCWK’s technical comments sufficient
            to aid this Court’s review;
          ● The consent decree does not address well-documented problems with private
            laterals sufficient to resolve CWA violations over the decree’s life;
          ● The consent decree does not address environmental injustices in the City’s
            sewer infrastructure contrary to federal law;
          ● The consent decree ignores the City’s documented failure to engage
            communities by providing minimal public participation; and
          ● The assessed penalty is too low and not offset by supplemental
            environmental projects or other benefits.
      To fully examine these discrete issues, the Court should allow limited discovery and

hold an evidentiary hearing. Alternatively, the Court should deny the motion.

                                       Argument

   1. By not adequately responding to BCWK’s technical comments, the United
      States has hindered this Court’s ability to assess the decree
      With help from Dr. Lauren Ross, a professional engineer experienced with

wastewater systems, BCWK devoted 12 pages of its comments to addressing technical

shortcomings of the consent decree. (Doc. 42-1 at 95-101, 115, 116, 137-39.) In responding

to these comments, the United States deflected by explaining other aspects of the decree;

referenced other plans that are being prepared but which have not been disclosed to the

public; or ignored BCWK’s comments altogether. These instances include the United

States’ responses to the following comments:

 Comment                                       Response

 (IV-1) Data purporting to support The United States misconstrues the
 consent     decree      is   incomplete. comment, then does not respond to it.
 By generally identifying the basis for Rather than discuss data sources informing
 project prioritization, the decree lacks


                                           10
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 15 of 25




 specificity and transparency, hindering the decree, the United States discusses
 outside assessment of whether it adequately injunctive relief measures.
 addresses overflows and rendering the
 decree incomplete.

 (IV-2) The prioritization matrix misses       The United States raises more questions
 key factors and does not give sufficient      than it answers; it references sewer basins
 information about other factors like          not mentioned in the decree and discloses
 floodplains, and the parties do not           no information about these basins; asserts
 explain how it is used.                       floodplain data will be used but provides no
                                               information about how; and asserts that
                                               impacts      on    environmental      justice
                                               communities need not be included as a
                                               prioritization factor because the consent
                                               decree incidentally prioritizes some low-
                                               income communities of color.

 (IV-3) Early Action Projects must be          The United States insists the timeline is
 completed more quickly than 10 years.         quick enough; 78.4 % of the Early Action
 A timeframe of ten years to complete          Projects must be completed by 2025, they
 “Early Action” projects is meaningless.       say; 16.6 % from 2028 to 2030.

 (IV-4) The length for compliance is too The United States insists a 15-year timeline
 long.                                       is sufficient without adequately explaining
 This is particularly true since plaintiffs’ why.
 case involves ten years of past violations.

 (IV-5) The decree does not fully address Rather than answer the question, the United
 known causes of pollution.               States points to broader injunctive methods
                                          that the consent decree will pursue.

 (V-10)  Additional        wet       weather Plaintiffs reference reports and plans that
 recommendations.                            are not part of the decree and that were not
                                             subject to public review or comment.


See Ross Decl ¶ 17; Doc. 42 at 49.

       By failing to confront BCWK’s comments head-on and leaving many details to be

resolved another day, the United States has hindered this Court’s role in assessing whether

                                             11
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 16 of 25




the decree fairly addresses environmental and public health concerns posed by the City’s

sewer system. See Akzo Coatings, 949 F.2d at 1426 (in evaluating the efforts of an agency

charged with making technical judgments and weighing complex data, the court must

ensure that the agency has considered all of the relevant evidence in the record); City of

Akron, 794 F. Supp. 2d at 807-08 (rejecting an “agreement to agree” with a 19-year timeline

after 7 years of negotiations).

   2. By refusing to address private laterals, the consent decree falls short of
      resolving impacts to water quality and public health
       In documenting problems with its sewer system, the City identified clogs from fats,

oils, and grease (“FOGs”) and other overflows from private sewer laterals as a major cause

of SSOs. (See Doc. 42-1 at 38.) But plaintiffs disclaim any responsibility on the City’s part

to address overflows from private laterals. Instead, the decree reiterates existing

requirements under Houston’s municipal code. (Doc. 42-1 at 40.) The consent decree

requires the City to continue educational efforts, tell homeowners to call a plumber, and

conduct a follow-up inspection; if the homeowner does not address the problem, the City

“may” take enforcement action. (Doc. 40 ¶ 43(g)-(k).)

       For years, this approach has failed to reduce overflows, as evidenced by the City’s

reported high rate of overflows associated with private laterals. Ross Decl ¶ 26. When

private laterals age, they face the same problems as the City’s infrastructure; they degrade,

crack, are infiltrated by floodwaters, or are broken by underground roots. Id. ¶ 23. Sewage

leaks from these laterals, leading to back-ups inside of private property and sending




                                             12
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 17 of 25




untreated sewage and potential pathogens into waterways, streets, homes, and businesses.

Id. ¶ 24.

       Repairs to private laterals are extremely costly and out of the reach of low-income

and even moderate-income Houstonians. Id. The decree’s approach means that residents

who cannot afford to repair their sewer lines are forced to live with unhealthy sewage

problems and face financial penalties. See id.

       To protect human health and water quality, the City must address private laterals,

particularly in low-income and historically marginalized communities. Id. at ¶ 26. By

merely incorporating the City’s existing legal options which have failed to resolve this

problem for years, the decree is unfair, unreasonable, and not in the public’s interest. See

Akzo Coatings, 949 F.2d at 1437 (in assessing reasonableness of CWA decree, court should

consider “likely effectiveness as a vehicle for cleansing” local waters); Allegheny-Ludlum

Indus., 517 F.2d at 850 (court must confirm “settlement’s overall fairness to

beneficiaries”); accord Citizens for a Better Env’t, 718 F.2d at 1126 (D.C. Cir. 1983).

    3. By ignoring environmental injustices, the decree compounds inequities in the
       City’s sewer infrastructure, contrary to Title VI
       Understanding that lower-income communities of color are the “most likely to feel

the consequences of Houston’s long-running struggle with sewer overflows,”5 BCWK’s

comments presented solutions ignored by the decree. (Doc. 42-1 at 99-100, 115-21.)




5
  Mike Morris, Sewer spills put city under EPA scrutiny, Houston Chronicle (Aug. 27,
2016), available at https://www.houstonchronicle.com/news/houston-
texas/houston/article/Sewer-spills-put-city-under-EPA-scrutiny-9188683.php.

                                            13
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 18 of 25




       Instead of explaining how the decree addresses environmental injustices, the United

States emphasized the system-wide benefits of planned repairs, noting that the decree

focuses on some geographic areas that are coincidentally home to low-income

Houstonians. (Doc. 42-1 at 32.) Rather than reflecting intentionality, this assessment of

environmental justice occurred after-the-fact. (Vaughn Aff ¶ 8.) Plaintiffs seem to disclaim

any obligation to assess environmental injustices at all—and worse, shift the burden to

BCWK to complete this analysis, after repeatedly excluding BCWK from negotiations.

(See id.; Macha Decl ¶ 7.) Regardless, BCWK has confirmed this trend in the City’s more

recent data; further, neither the decree nor planned Capital Improvement Projects account

for these disparities. Ross Decl ¶¶ 21, 25.

       The United States must ensure the City complies with Title VI of the Civil Rights

Act of 1964, which prohibits the spending of federal funds in a manner that discriminates

on the basis of race, color, or national origin, either intentionally or in a way that has

discriminatory effects. 42 U.S.C. § 2000d, et seq; 40 C.F.R. § 7.35. A consent decree may

properly include provisions requiring the defendant to take affirmative action rectifying the

effects of past discrimination. City of Miami, 664 F.2d at 442.

       The City’s sewer program has received, and will continue to receive, federal

funding through various grant programs, including the Clean Water State Revolving Fund.

See, e.g., Underground Construction, Nearly $74 Million Awarded for Texas Water and

Sewer Projects, April 16, 2018, available at https://ucononline.com/news/2018/04/nearly-

74-million-awarded-for-texas-water-and-sewer-projects.       Whether     discrimination    is

present in a decree that aims to address decades of overflows goes directly to this Court’s


                                              14
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 19 of 25




consideration of whether the decree is fair to its beneficiaries and consistent with the public

interest. The post-hoc analysis of the planned system-wide repairs was not designed to

eliminate discriminatory effects of the City’s public works programs or rectify effects of

the City’s past discrimination. Rather than support it, the flawed rationale calls into

question the procedural and substantive fairness of the decree. See id.; Allegheny-Ludlum,

517 F.2d at 850 (assessing overall fairness to beneficiaries and consistency with public

interest); Akzo Coatings, 949 F.2d at 1435 (assessing fairness includes examining effects

on nonparties to consent decree).

   4. By contemplating minimal public participation, the consent decree ignores
      Houston’s historic failure to engage communities
       BCWK’s comments highlighted the City’s failure to engage residents in decisions

affecting them. (Doc. 42-1 at 127-37.) This resistance to community involvement pervaded

the decree’s negotiation. Macha Decl ¶¶ 7-18. At every turn, the City rejected the notion

that Houstonians should have input into the consent decree, apart from the federal comment

period, when key provisions were already set in stone. See id. And the City repeatedly

resisted having BCWK’s involvement in the decree’s negotiation. Id. ¶¶ 6-7. In responding

to these concerns, the United States emphasized: “Nothing in the Decree would preclude

the City from working with residents and community members in this fashion….” (Doc.

42-1 at 65.)

       This misses the point. BCWK asked for community engagement as a requirement

because the City will not do this on its own. Macha Decl ¶¶ 7-18. To illustrate, the Mayor

planned to put the consent decree up for a vote without releasing a copy to the public, id. ¶



                                              15
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 20 of 25




8, and City Council Members were subject to a punitive “secrecy clause” preventing them

from sharing information about the consent decree with the public. Id. ¶ 13.

       Only after more than 50 groups and individuals voiced concerns over the $billion

closed-door settlement, the Mayor released a copy while delaying Council’s vote by only

six days. Id. ¶ 9. Despite the short turnaround, BCWK, working with other organizations,

presented the City with a community engagement plan, which was rejected by the Mayor’s

office, and the Council approved the decree without changes. Id. ¶ 10, 11, 13.

       The City later took the position that it had adequately consulted with the public by

pointing to these Council meetings, as well as actions taking place after the Council’s vote,

including the federal (not the City’s) comment period and the City’s presentations to

closed, paying audiences. Macha Decl ¶ 12. This level of outreach falls short of ensuring

ratepayers and those most affected by the City’s pollution have any understanding of the

consent decree and the City’s wastewater investments moving forward. Allegheny-Ludlum,

517 F.2d at 850 (assessing overall fairness to beneficiaries and consistency with the public

interest); Akzo Coatings, 949 F.2d at 1435 (assessing fairness includes examining decree’s

effects on nonparties). Because the decree does nothing to make up for the City’s lackluster

engagement, it is not in the public’s interest.

   5. The assessed penalty is too low and not offset with local environmental projects
      or other similar benefits
       BCWK’s lawsuit identifies more than 9,000 overflows over five years. Covering an

unspecified number of violations over ten years, the plaintiffs’ lawsuit purports to be

broader.



                                              16
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 21 of 25




       Each overflow represents a discrete potential violation of the CWA and is subject

to a separate, mandatory penalty. 33 U.S.C. § 1319(d). For the period covered by BCWK’s

intervention and citizen suit, penalties ranged from $37,500 to $53,484 per day, per

violation. (Doc. 12-2 at 26-27, ¶ 86.) For illustrative purposes, based on the violations in

BCWK’s citizen suit, the City could be liable for hundreds of millions of dollars in

penalties; in this enforcement action, the penalty would be higher. Though plaintiffs

concede they likely would prevail on liability on summary judgment for thousands of legal

violations over more than ten years (Doc. 42 at 22), the decree requires the City to split

only $4.4 million in penalties between the U.S. Treasury and Texas’ General Revenue

Fund. (Doc. 40 at ¶ 47.)

       To suggest that the City’s penalty is appropriate, the plaintiffs assert it “will

represent the highest civil penalty assessed against a municipality for sewer system related

violations.” Doc. 42-1 at 42, Affidavit of James Zinny at ¶ 4. This is misleading for two

reasons. First, by limiting their statement to “municipalities” they disregard consent

decrees entered by other local sewer system operators. Second, this ignores that unlike the

City, municipal defendants receive penalty reductions in exchange for funding

Supplemental Environmental Projects (“SEPs”).

       SEPs are projects that defendants undertake to benefit local communities affected

by pollution in exchange for reducing penalties owed for environmental violations. U.S.

EPA, 2015 Update to the 1998 U.S. EPA SEPs Policy, at 6 (May 10, 2015). Historically,

SEPs have been a powerful tool to directly redress some environmental harms endured by

the communities affected by a legal violation. Id. at 24.


                                             17
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 22 of 25




       Other local sewer authorities with smaller service areas have paid similarly high

penalties when their SEPs are taken into account. In 2007, the Allegheny County Sanitary

Authority, serving Pittsburgh and 82 surrounding municipalities with a smaller service area

and population than Houston, paid a $1.2 million penalty for past CWA violations, and

agreed to spend at least $3 million on SEPs—collectively only $200,000 shy of the City’s

commitment here (without adjusting for inflation), which does not dedicate any funds to

SEPs. Consent Decree at ¶¶ 110, 116, United States v. Allegheny Cty. Sanitary Auth., No.

2:07-CV-737 (W.D. Pa.), available at https://www.epa.gov/sites/production/files/2013-

09/documents/alcosan-cd.pdf.

       In 2011, the Metropolitan St. Louis Sewer District, also with a smaller service area

and population than the City, paid a $1.2 million penalty and agreed to invest at least $1.6

million in SEPs to address private lateral repairs and other problems, for $2.8 million total.

Consent Decree at ¶¶ 78, 80, 82(a), United States v. Metropolitan St. Louis Sewer Dist.,

No. 4:07-CV-1120 (E.D. Mo.).

       More important, these examples show when a penalty reduction is warranted: when

a decree contemplates SEPs. Although the City announced in a press statement that the

decree would include a SEP “to replace defective private sewer lines in a low-income area

of the City where laterals have caused or contributed to SSOs at no cost to the

homeowners,”6 the parties’ sluggish negotiations likely thwarted those plans. From 2017


6
 How is the City Addressing Thousands of Sewage Overflows? Houston Public Media
(Aug. 16, 2018) (quoting from City of Houston press statement), available at
https://www.houstonpublicmedia.org/articles/shows/houston-
matters/2018/08/16/300159/how-is-the-city-addressing-thousands-of-sewage-overflows/.

                                             18
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 23 of 25




to 2020, the Department of Justice issued a series of policies that chipped away at, then

ended, its decades-long policy to prevent the use of SEPs in nearly all circumstances. See

Memorandum from Jeffrey Bossert Clark, Assistant Att’y Gen., Env’t and Nat. Resources

Division, U.S. Dep’t of Justice, SEPs in Civil Settlements with Private Defendants, at 2

(Mar. 12, 2020). The effect is important: Protracted negotiations led to a penalty reduction

for the City, but avoided any community-oriented projects.

       Low-income residents should not bear the burden of the parties’ delays in

negotiating a consent decree. Because liability is indisputably strong, the plaintiffs should

have required the City to undertake additional planning to resolve problems with its sewer

system not directly addressed by the consent decree—for example, more creative terms to

aggressively address overflows from private laterals, or community engagement for the life

of the consent decree to offset the City’s historic failures at public outreach.

       Without any such terms, the decree is not fair or in the public’s interest. See Akzo

Coatings, 949 F.2d at 1435 (in assessing fairness, court should consider strength of

plaintiff’s case and from standpoint of nonparties).

                                         Conclusion

       To fully examine the deficiencies raised by this response, BCWK asks the Court to

allow limited discovery and hold an evidentiary hearing. Alternatively, the Court should

deny the plaintiffs’ motion as not fair, reasonable, or in the public’s interest. (Doc. 42).




                                              19
Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 24 of 25




                                Respectfully submitted,

                                /s/ David Frederick
                                David Frederick
                                Attorney-in-charge
                                Texas Bar No. 07412300
                                Eric Allmon, of counsel
                                Texas Bar No. 24031819
                                Lauren Ice, of counsel
                                Texas Bar No. 24092560
                                Frederick, Perales, Allmon & Rockwell, P.C.
                                1206 San Antonio St.
                                Austin, Texas 78701
                                Tel: 512-469-6000
                                Fax: 512-482-9346
                                dof@lf-lawfirm.com
                                eallmon@lf-lawfirm.com
                                lauren@lf-lawfirm.com
                                Attorneys for Bayou City Waterkeeper

                                Kristen Schlemmer, of counsel
                                Texas Bar No. 24075029
                                S.D. Tex. Bar No. 2078411
                                Bayou City Waterkeeper
                                2010 N. Loop West, Suite 103
                                Houston, TX 77018
                                Tel: 713-714-8442
                                kristen@bayoucitywaterkeeper.org
                                Attorney for Bayou City Waterkeeper




                                  20
    Case 4:18-cv-03368 Document 45 Filed on 09/04/20 in TXSD Page 25 of 25




                                  Certificate of Word Count

       Excluding the caption, table of contents, table of authorities, signature block, and

certificates, this response contains 4,980 words and is within the 5,000 word limit

contained in Rule 18(c) of this Court’s procedures.

                                              /s/ David Frederick
                                              David Frederick
                                              Attorney for BCWK



                                       Certificate of Service

       I certify that on September 4, 2020, I electronically filed this document and all

attachments using the CM/ECF system, which automatically sends notice and a copy of

the filing to all counsel of record.

                                              /s/ David Frederick
                                              David Frederick
                                              Attorney for BCWK




                                                21
